           Case 1:16-cv-00635-CRC Document 25 Filed 05/17/18 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  BARTON GELLMAN,

                  Plaintiff,

                           v.
                                                       Civil Action No. 16-0635 (CRC)
  DEPARTMENT OF HOMELAND
  SECURITY, et al.,

                  Defendants.


                                                 ORDER

         Upon consideration of the Parties’ Joint Status Report, and the entire record herein, it is

hereby

         ORDERED that the current Scheduling Order is amended to provide that the Parties are

no longer required to submit joint status reports to the Court every sixty (60) days; and it is

         FURTHER ORDERED that the Parties shall file a Joint Status Report by June 4, 2018,

informing the Court as to the status of this proceeding and identifying what, if any, issues remain.

If the Parties determine that dispositive motion practice is necessary, they will also submit a

proposed order setting a briefing schedule concurrently with that joint status report.

SO ORDERED.

May 17, 2018
Date                                                          United States District Judge
